Exhibit C
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                                                   *
Reconnecting

        Sam Bankman-Fried 6 :50 AM
        to me v


Hey -

I know it's been a while since we've talked. And
I know things have ended up on the wrong foot.

I would really love to reconnect and see if
there's a way for us to have a constructive
relationship, use each other as resources when
possible, or at least vet things with each other.

I'd love to get on a phone call sometime soon
and chat .
•••




                                                       SONY_03_00565458
SONY_03_00565459
From : Sam Bankman-Fried
Date: Sunday, Jan 15, 2023 at 6:51 AM
To: Dietderich, Andrew G. ~                        >
Subject: [EXTERNAL] Reconnecting (from SBF)

Hey Andy--

I'm really sorry that things seem to have ended up on the wrong foot in our interactions.

I'd love to have a call to chat, and try to find a way to work constructively together--or at least give it a good
faith effort.

Sam


Sam Bankman-Fried

**This is an external message from:                                   **




                                                          1




                                                                                                     SONY_03_00565451
